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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE

In re:                                                              Chapter 11

Legacy IMBDS, Inc., et al.,1                                        Case No. 23-10852 (KBO)

                                   Debtors.                         (Jointly Administered)


Synacor, Inc.,
                                                                    Adv. Proc. No. 23-50753 (KBO)
                                   Plaintiff,

         v.

IV Media, LLC; Innovation Ventures, LLC; Portal
Acquisition Co.; iMedia Brands, Inc.; ValueVision
Interactive, Inc.; VVI Fulfillment Center, Inc.;
ValueVision Retail Inc.; JWH Acquisition
Company; PW Acquisition Company, LLC; EP
Properties, LLC; FL Acquisition Company; Norwell
Television, LLC; 867 Grand Avenue, LLC; and
Unidentified Parties, 1-25,

                                   Defendants.


                     STIPULATION BY AND BETWEEN PLAINTIFF AND
                    DEFENDANTS EXTENDING DEFENDANTS’ TIME TO
                      FILE AN ANSWER OR RESPOND TO COMPLAINT

         Legacy IMBDS, Inc. (f/k/a iMedia Brands, Inc.), Portal Acquisition Company,

ValueVision Interactive, Inc., VVI Fulfillment Center, Inc., ValueVision Retail, Inc., JWH

Acquisition Company, PW Acquisition Company, LLC, EP Properties, LLC, FL Acquisition

Company, Norwell Television, LLC, and 867 Grand Avenue, LLC (collectively, the “Debtor


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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number are: ValueVision Media Acquisitions, Inc. (8670); Legacy IMBDS, Inc. (3770); ValueVision
    Interactive, Inc. (8730); Portal Acquisition Company (3403); VVI Fulfillment Center, Inc. (5552); ValueVision
    Retail Inc. (2155); JWH Acquisition Company (3109); PW Acquisition Company, LLC (0154); EP Properties,
    LLC (3951); FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC
    (2642). The Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
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Defendants”) and the above-captioned plaintiff (the “Plaintiff”) hereby agree to extend Debtor

Defendants’ time to file an answer or respond to the complaint filed by the Plaintiff in the

above-captioned adversary proceeding (the “Adversary Proceeding”). In support hereof, the

Debtor Defendants and Plaintiff state as follows:

       The Plaintiff initiated the Adversary Proceeding against, among others, the Debtor

Defendants by filing a complaint [Adv. Proc. No. 23-50753] (the “Complaint”) with this Court

on November 1, 2023.

       In order to allow the parties an opportunity to resolve the Adversary Proceeding on the

merits, the Plaintiff and the Debtor Defendants agreed to extend Defendants’ time to file an

answer or respond to the Complaint through and including December 21, 2023.              Debtor

Defendants acknowledge service and service of process in this Adversary Proceeding.

       The parties’ entry into this Stipulation shall be without prejudice to the ability of the

parties to seek a further extension or modification of the Debtor Defendants’ time to answer or

respond to the Complaint.


                            [Remainder of Page Intentionally Left Blank]




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Dated: December 6, 2023

PACHULSKI STANG ZIEHL & JONES                       GIBBONS P.C.
LLP

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